          Case 3:19-cv-00253-SB        Document 12        Filed 05/04/19   Page 1 of 5




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                                UNITED STATES DISTRICT COURT

                                 FOR THE DISTRICT OF OREGON

                                     PORTLAND DIVISION


 HOUSING NORTHWEST,                              Case No. 3:19-cv-00253-SB
 INCORPORATED,
                                                 JOINT STATUS REPORT AND
                  Plaintiff,                     PROPOSED CASE MANAGEMENT
                                                 SCHEDULE
          v.

 THE AMERICAN INSURANCE
 COMPANY, and TRAVELERS
 PROPERTY CASUALTY COMPANY OF
 AMERICA,

                  Defendants.


         The parties have conducted a telephonic conference on March 18, 2019 and have engaged

in follow-up e-mail correspondence to discuss a proposed case scheduling order and the topics

identified in Fed. R. Civ. P. 26(f), Form 52 in the Fed. R. Civ. P. Appendix of Forms, and Local

Rule 26-1. The parties hereby submit this Joint Status Report and Proposed Case Schedule in

advance of the Rule 16 conference scheduled for May 22, 2019.




Page 1         JOINT STATUS REPORT AND PROPOSED CASE MANAGEMENT SCHEDULE
              Case 3:19-cv-00253-SB      Document 12       Filed 05/04/19     Page 2 of 5




         1.       Rule 26(f) Conference. On March 18, 2019, the parties conducted a telephonic

conference pursuant to Fed. R. Civ. P. 26(f) and Local Rule 26-1. The parties were represented

by undersigned counsel. The parties have also engaged in follow-up e-mail correspondence to

discuss the matters addressed herein.

         2.       Initial Disclosures. The parties have agreed to waive the initial disclosures

required by Fed. R. Civ. P. 26(a)(1), and jointly submit the form required by Local Rule 26-2.

         3.       Discovery Plan. The parties propose the following discovery plan:

                     a. The subjects on which discovery will be required include all subjects within

the scope of Fed. R. Civ. P. 26(b).

                     b. With respect to inadvertent production of discovery materials subject to a

claim of privilege or of protection of trial preparation material, the parties have agreed to abide by

the terms of Fed. R. Civ. P. 26(b)(5)(B) and any associated law.

                     c. The parties do not anticipate any issues in this case concerning production

of electronically-stored information, but agree to abide by the terms of Fed. R. Civ. P. 26(b)(2)(B)

and any associated law to the extent such issues arise.

                     d. The parties agree that discovery shall commence upon the filing of this

report, but have agreed that early motions with respect to the “suit limitation provisions” in the

insurance contracts would be helpful for all parties. The parties propose that the Court enter the

following schedule for discovery and early motion practice, which may be subject to revision based

on the parties’ ongoing discussions concerning the most efficient method of litigating this matter:

                           i.   Each party will file their motion regarding the suit limitation

                                provisions in the insurance contracts by May 31, 2019.

                          ii.   Each party will file their response briefs by June 21, 2019.




Page 2         JOINT STATUS REPORT AND PROPOSED CASE MANAGEMENT SCHEDULE
          Case 3:19-cv-00253-SB          Document 12       Filed 05/04/19      Page 3 of 5




                        iii.   Each party may file a short reply brief (limited to 5 pages) by June

                               28, 2019.

                         iv.   Fact discovery will be completed by December 20, 2019.

                         v.    Expert disclosures will be exchanged by January 24, 2020.

                         vi.   Rebuttal expert disclosures will be exchanged by February 28, 2020.

                        vii.   Expert discovery will be completed by March 31, 2020.

                   e. The parties agree that the limitations on interrogatories by each party

established by Fed. R. Civ. P. 33(a)(1) need not be altered at this time. This agreement does not

prejudice either party’s ability to seek relief from this limitation should circumstances warrant

such relief. The parties further agree that responses to interrogatories shall be served thirty (30)

days after service, barring any agreement between the parties to alter that period.

                   f. The parties agree that there shall be no restriction on the number of requests

for admission served by a party. This agreement does not prejudice either party’s ability to seek

restrictions on the number of requests for admission should circumstances warrant such relief. The

parties further agree that responses to interrogatories shall be served thirty (30) days after service,

barring any agreement between the parties to alter that period.

                   g. The parties agree that the presumptive ten (10) deposition limit established

in Fed. R. Civ. P. 30(a)(2)(A)(i) is appropriate in this case. This agreement does not prejudice

either party’s ability to seek additional depositions, via stipulation or court order, should

circumstances warrant such relief.

                   h. The parties agree that the presumptive length of depositions established in

Fed. R. Civ. P. 30(d)(1) shall not be altered at this time. This agreement does not prejudice either




Page 3     JOINT STATUS REPORT AND PROPOSED CASE MANAGEMENT SCHEDULE
              Case 3:19-cv-00253-SB      Document 12       Filed 05/04/19       Page 4 of 5




party’s ability to seek additional time to conduct any deposition, via stipulation or court order,

should circumstances warrant such relief.

                     i. As detailed above, the reports of any case-in-chief experts shall be produced

on or before January 24, 2020. The reports of any rebuttal experts shall be produced on or before

February 28, 2020.

                     j. The parties agree they shall supplement any discovery responses in a timely

and ongoing matter as required by Fed. R. Civ. P. 26(e)(1).

         4.       Other Items. The parties have also discussed the following miscellaneous matters.

                     a. The parties propose that dispositive motions shall be filed by April 30, 2020.

                     b. The parties do not provide a requested trial date and, instead, defer to the

Court’s availability based on the other deadlines proposed in this matter. The parties anticipate

trial of this matter will take approximately 8-10 days and will be ready for trial in the late fall or

early winter of 2020. The respective deadlines for submission of jury instructions and verdict

form, exhibit lists, lay witness statements, expert reports, itemized list of special damages,

deposition designations, trial memoranda, motions in limine, Daubert motions, rebuttal exhibits,

and requested voir dire shall be determined upon the setting of a trial date.

                     c. The parties have discussed and agreed to further confer on resolution of the

case through private negotiation, mediation, or some other form of alternative dispute resolution.

The parties anticipate being able to further engage in those discussions upon completion of initial

discovery, additional analysis of coverage available under the applicable policies, and potentially

early dispositive motion practice on legal issues.

                     d. The parties do not currently consent to submission of the case to a

Magistrate Judge, but have agreed to further analyze the potential of providing consent.




Page 4         JOINT STATUS REPORT AND PROPOSED CASE MANAGEMENT SCHEDULE
         Case 3:19-cv-00253-SB    Document 12      Filed 05/04/19    Page 5 of 5




DATED: May 4, 2019               Respectfully submitted,

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Page 5    JOINT STATUS REPORT AND PROPOSED CASE MANAGEMENT SCHEDULE
